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             IN THE UNITED STATES DISTRICT COURT
              DISTRICT OF UTAH, CENTRAL DIVISION
CHARLIE HOUSE,                                    NOTICE OF SETTLEMENT
       Plaintiff,                              Case Number: 2:18-cv-00115-DBP
vs.
                                                      Judge: Dustin B. Pead
SYNCHRONY BANK,
       Defendant.

                               NOTICE OF SETTLEMENT

       Plaintiff, Charlie House, by and through the undersigned counsel, hereby notifies

the Court that the parties have reached a settlement with regard to this case and are

presently drafting and finalizing the settlement agreement, and general release or

documents. Upon execution of the same, the parties will file the appropriate dismissal

documents with the Court.

        DATED 9/13/2018                                  /s/ Eric Stephenson
                                                         Attorney for Plaintiff
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY on September 13 2018, I served this Notice of
Settlement through this court’s electronic filing system which automatically
notifies counsel of record for the Defendants.



                                             /s/Eric Stephenson____________
                                             Eric Stephenson
                                             Counsel for Plaintiff
